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       -and-

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ATTORNEYS FOR RABO AGRIFINANCE LLC

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  IN RE:                                    §
                                            §
  CARLENE VERDLE BEAUCHAMP                  §         Case No. 20-20270-RLJ-11
                                            §
           Debtor.                          §

                        ENTRY OF APPEARANCE OF COUNSEL
                           FOR RABO AGRIFINANCE, LLC

TO THE HONORABLE COURT:

       W. HEATH HENDRICKS of the firm of RINEY & MAYFIELD LLP, enters his

appearance as counsel of record for Defendant RABO AGRIFINANCE, LLC, f/k/a RABO

AGRIFINANCE, INC. in this action:




ENTRY OF APPEARANCE OF COUNSEL FOR
DEFENDANT RABO AGRIFINANCE, LLC – PAGE 1                                      150389v1
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       MICHAEL R. JOHNSON of the firm of RAY QUINNEY & NEBEKER P.C., 36 South State

Street, Suite 1400, Salt Lake City, Utah 84111 will serve as attorney in charge for Defendant

RABO AGRIFINANCE, LLC, f/k/a RABO AGRIFINANCE, INC.                        W. Heath Hendricks

requests that he receive all future communications from the Court and other parties.


                                              Respectfully submitted,

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                                              By________/s/ W. Heath Hendricks____________
                                                           W. Heath Hendricks

                                              COUNSEL FOR DEFENDANT
                                              RABO AGRIFINANCE, LLC




ENTRY OF APPEARANCE OF COUNSEL FOR
DEFENDANT RABO AGRIFINANCE, LLC – PAGE 2                                                 150389v1
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of October, 2020, the above Entry of Appearance of
Counsel for Defendant Rabo AgriFinance, LLC was filed with the Clerk of the Court using the
CM/ECF system, which sent notice of electronic filing to the following electronic filing users in
this case:

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                                     __________/s/ W. Heath Hendricks __________
                                                  W. Heath Hendricks


ENTRY OF APPEARANCE OF COUNSEL FOR
DEFENDANT RABO AGRIFINANCE, LLC – PAGE 3                                                  150389v1
